     Case 7:22-cv-02761-NSR-JCM               Document 1       Filed 04/04/22      Page 1 of 6




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


  RAVEN RAMOS, individually and on behalf              Civil Action No.
  of all others similarly situated,
                                                       CLASS ACTION COMPLAINT
                              Plaintiff,

            v.

  APPLE INC.,

                              Defendant.


                                   NATURE OF THE ACTION

       1.        This is a class action on behalf of all employees of Apple Inc. (“Apple” or

“Defendant”) in the State of New York that engage or have engaged in manual work in the

course of their employment.

       2.        New York Law requires companies to pay their manual workers on a weekly

basis unless they receive an express authorization to pay on a semi-monthly basis from the New

York State Department of Labor Commissioner. See New York Labor Law (“NYLL”), Article

6, §191.

       3.        On information and belief, Defendant has received no such authorization from the

New York State Department of Labor Commissioner.

       4.        The New York Court Of Appeals has explained that this law is “intended for the

protection of those who are dependent upon their wages for sustenance.” People v. Ventri, 309

N.Y. 401, 405 (citing former Labor Law § 196).

       5.        Defendant has violated and continue to violate this law by paying its manual

workers every other week rather than on a weekly basis.

       6.        Plaintiff therefore demands liquidated damages, interest, and attorneys’ fees on
     Case 7:22-cv-02761-NSR-JCM               Document 1       Filed 04/04/22      Page 2 of 6




behalf of herself and a putative class comprised of all manual workers employed by Defendant in

New York State over the last six years.

                                JURISDICTION AND VENUE

       7.      This Court has personal jurisdiction over Defendant because Defendant conducts

business in New York. Defendant owns and operates numerous Apple Store locations within

New York.

       8.      This Court has subject matter jurisdiction over this proposed class action pursuant

to 28 U.S.C. § 1332(d), which, under the provisions of the Class Action Fairness Act (“CAFA”),

explicitly provides for the original jurisdiction of the federal courts in any class action in which

at least 100 members are in the proposed plaintiff class, any member of the plaintiff class is a

citizen of a State different from any defendant, and the matter in controversy exceeds the sum of

$5,000,000.00, exclusive of interest and costs. Plaintiff alleges that the total claims of individual

members of the proposed Class (as defined herein) are well in excess of $5,000,000.00 in the

aggregate, exclusive of interest and costs.

       9.      Venue is proper in this District under 28 U.S.C. § 1391(b)(1) because this is a

judicial district in which a substantial part of the events or omissions giving rise to the claim

occurred.

                                              PARTIES

       10.     Defendant Apple Inc. is a California corporation with a principal place of

business in Cupertino, California. Defendant owns and operates Apple Store locations that

employ hundreds, if not thousands, of manual workers in the State of New York.

       11.     Plaintiff Raven Ramos is a citizen of New York who resides in Port Chester, New

York. Plaintiff was employed by Defendant from approximately October 2010 to January 2018

at an Apple Store located at 767 5th Ave., New York, New York. At least 25% of Plaintiff’s job


                                                  2
     Case 7:22-cv-02761-NSR-JCM             Document 1        Filed 04/04/22      Page 3 of 6




responsibilities at Apple included manual labor, including tasks such as working the sales floor,

unboxing products, emptied cash registers, and assisted customers. Plaintiff was paid every

other week, rather than weekly, during the entirety of her employment with Defendant. Plaintiff

has been injured by Defendant’s failure to pay timely wages because she was temporarily

deprived of money owed to her. Thus, every day that said money was not paid to her in a timely

fashion, she lost the time value of that money.

                              CLASS ACTION ALLEGATIONS

       12.     Pursuant to Fed. R. Civ. P. 23, Plaintiff seeks to represent a class defined as all

persons who worked as manual workers in their employment for Defendant in the State of New

York from six years preceding this Complaint to the date of class notice in this action (the

“Class”).

       13.     Members of the Class are so numerous that their individual joinder herein is

impracticable. On information and belief, members of the Class number in the thousands. The

precise number of Class members and their identities are unknown to Plaintiff at this time but

may be determined through discovery. Class members may be notified of the pendency of this

action by mail and/or publication through the employment records of Defendant.

       14.     Common questions of law and fact exist as to all Class members and predominate

over questions affecting only individual Class members. Common legal and factual questions

include, but are not limited to: whether Defendant was required to pay class members on a

weekly basis, whether class members were paid on a weekly basis, and whether Defendant

violated NYLL § 191.

       15.     The claims of the named Plaintiff are typical of the claims of the Class in that the

named Plaintiff worked as a manual worker for Defendant during the class period but was not

provided with compensation for her work on a weekly basis.


                                                  3
     Case 7:22-cv-02761-NSR-JCM              Document 1        Filed 04/04/22      Page 4 of 6




       16.     Plaintiff is an adequate representative of the Class because her interests do not

conflict with the interests of the Class members she seeks to represent, she has retained

competent counsel experienced in prosecuting class actions, and she intends to prosecute this

action vigorously. The interests of Class members will be fairly and adequately protected by

Plaintiff and her counsel.

       17.     The class mechanism is superior to other available means for the fair and efficient

adjudication of the claims of the Class members. Each individual Class member may lack the

resources to undergo the burden and expense of individual prosecution of the complex and

extensive litigation necessary to establish Defendant’s liability. Individualized litigation

increases the delay and expense to all parties and multiplies the burden on the judicial system

presented by the complex legal and factual issues of this case. Individualized litigation also

presents a potential for inconsistent or contradictory judgments. In contrast, the class action

device presents far fewer management difficulties and provides the benefits of single

adjudication, economy of scale, and comprehensive supervision by a single court on the issue of

Defendant’s liability. Class treatment of the liability issues will ensure that all claims and

claimants are before this Court for consistent adjudication of the liability issues.

                                    CLAIMS FOR RELIEF

                                             COUNT I

                  New York Labor Law – Failure to Pay Timely Wages

       18.     Plaintiff realleges and incorporates by reference all allegations in all preceding

paragraphs.

       19.     The timely payment of wages provisions NYLL § 191 and its supporting

regulations apply to Defendant and protect Plaintiff and the Class.



                                                  4
     Case 7:22-cv-02761-NSR-JCM                Document 1       Filed 04/04/22     Page 5 of 6




        20.     Defendant failed to pay Plaintiff and the Class on a timely basis as required by

NYLL § 191(1)(a).

        21.     Due to Defendant’s violations of the NYLL, Plaintiff and the Class are

entitled to recover from Defendant the amount of their untimely paid wages as liquidated

damages, reasonable attorneys’ fees and costs, and pre-judgment and post-judgment interest as

provided for by NYLL § 198.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiff, individually and on behalf of all others similarly situated,

 seeks judgment against Defendant, as follows:

        a.      For an order certifying the Class under Rule 23 of the Federal Rules of Civil
                Procedure and naming Plaintiff as a representative of the Class and Plaintiff’s
                attorneys as Class Counsel to represent the Class members;

        b.      For an order declaring Defendant’s conduct violates the law referenced herein;

        c.      For an order finding in favor of Plaintiff and the Class on the count asserted
                herein;

        d.      For liquidated damages in amounts to be determined by the Court and/or jury;

        e.      For prejudgment interest on all amounts awarded; and

        f.      For an order awarding Plaintiff and the Class their reasonable attorneys’ fees,
                expenses, and costs of suit.

                                  DEMAND FOR JURY TRIAL

        Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any

and all issues in this action so triable of right.

Dated: April 4, 2022                                     Respectfully Submitted,

                                                         BURSOR & FISHER, P.A

                                                         /s/ Yitzchak Kopel
                                                         Yitzchak Kopel
                                                         Alec M. Leslie


                                                     5
Case 7:22-cv-02761-NSR-JCM   Document 1    Filed 04/04/22   Page 6 of 6



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                                6
